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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  UNITED STATES OF
  AMERICA,

                  Plaintiff,
  v.                                                   Case No. 10-cr-20388-2
                                                       Honorable Linda V. Parker
  ISAAC DENEL MEEKS,

              Defendant.
  __________________________/

    OPINION AND ORDER GRANTING DEFENDANT’S MOTION FOR
    RELEASE PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(1) (ECF NO. 853)

       On November 15, 2011, a jury found Defendant guilty of (Count 1)

 Conspiracy to Distribute and Possess With Intent to Distribute a Controlled

 Substance, in violation of 21 U.S.C. §§ 846 and 841(a)(1); (Count 9) Possession

 With Intent to Distribute Heroin, in violation of 21 U.S.C. § 841(a)(1); (Count 10)

 Felon in Possession of a Firearm, in violation of 18 U.S.C. § 922(g)(2); and (Count

 11) Possession of a Firearm in Furtherance of a Drug Trafficking Crime, in

 violation of 18 U.S.C. § 924(c). (ECF No. 465.) On May 21, 2013, the Honorable

 Mark A. Goldsmith sentenced Defendant to concurrent terms of imprisonment of

 121 months on Counts 1 and 9 and 10 years on Count 10, and a consecutive term

 of 60 months on Count 11. (ECF No. 647.)      On February 19, 2016, this Court

 reduced Defendant’s sentence to 180 months due to retroactive amendments to the
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 sentencing guidelines for drug cases. (ECF No. 721.) This matter is presently

 before the Court on Defendant’s Motion for Release Pursuant to 18 U.S.C.

 § 3582(c)(1)(A)(1). (ECF No. 853.) The Government responded to the motion

 (ECF No. 866) and the Court held a hearing on December 2, 2020.

                        APPLICABLE LAW & ANALYSIS

       A defendant may move for compassionate release under 18 U.S.C.

 § 3582(c)(1)(A) only after “fully exhaust[ing] all administrative rights to appeal a

 failure of the Bureau of Prisons to bring a motion on the defendant’s behalf” or

 “the lapse of 30 days from the receipt of such a request by the warden of the

 defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A).

       Further, under the statute, a court may reduce a defendant’s term of

 imprisonment (i) if it finds that extraordinary and compelling reasons warrant such

 a reduction; (ii) if it finds that a reduction is consistent with applicable statements

 issued by the Sentencing Commission; and (iii) after considering the factors set

 forth in 18 U.S.C. Section 3553(a) to the extent they are applicable.1 18 U.S.C.

 § 3582(c)(1)(A)(i); see also United States v. Jones, 980 F.3d 1098, 1105-08 (6th

 Cir. 2020). The defendant bears the burden of proving that “extraordinary and



 1
  The Sentencing Commission’s policy statement on compassionate release,
 U.S.S.G. § 1B1.13, is not applicable where, as here, the imprisoned person files the
 motion for compassionate release. United States v. Jones, 980 F.3d 1098, 1111
 (6th Cir. 2020).
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 compelling reasons” exist to justify release under the statute. See United States v.

 Rodriguez, 896 F.2d 1031, 1033 (6th Cir. 1990).

       Here, the Government does not dispute that Defendant properly exhausted

 all administrative remedies. (See generally ECF No. 866.) Nor does the

 Government dispute that Defendant is obese (BMI 33) and has high blood pressure

 (also known as hypertension). (Id. at Pg. ID 13012, 13027-28.) It is widely

 acknowledged, based on expert guidance, that there is a risk of serious outcomes

 for infected individuals who have certain underlying medical conditions such as

 obesity, and there may be such a risk for individuals who have high blood pressure.

 People with Certain Medical Conditions, CDC, https://perma.cc/A47K-LE3B.

 The Court finds that these medical conditions, combined with “the high risk of

 [COVID-19] transmission within congregate settings” such as detention facilities,

 see Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19)

 in Correctional & Detention Facilities, CDC, https://perma.cc/HN53-SRYJ,

 present an extraordinary and compelling circumstance warranting a sentence

 reduction.2


 2
  The Court finds it noteworthy that in previous cases before it, the
 Government has conceded that obesity, during the COVID-19
 pandemic, constitutes an extraordinary and compelling reason to reduce a
 Defendant’s sentence if the remaining considerations weigh in favor of such a
 decision. See, e.g., Resp., United States v. Culp, No. 17-20737 (E.D. Mich. filed
 Aug. 4, 2020), ECF No. 34 at Pg. ID 165-66 (“Culp’s medical records, however,
 confirm that he has obesity, which the CDC has identified as a risk factor for
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       During the hearing, Defendant stated that he contracted COVID-19

 approximately two weeks prior and experienced aches, pains, as well as an

 inability to smell or taste. In its supplemental brief, the Government contends that

 because Defendant did not develop serious illness after contracting the virus and

 the risk of reinfection is rare, Defendant cannot establish an extraordinary and

 compelling circumstance to justify his release. (ECF No. 877 at Pg. ID 13058-59.)

 The Court is not persuaded. Currently, the CDC does not understand the

 likelihood of reinfection, how often reinfection occurs, the severity of reinfection

 cases, or who might be at higher risk of reinfection. Reinfection with COVID-19,

 CDC, https://perma.cc/BY7F-HCCV. Because there is no scientific evidence from

 which the Court can conclude that Defendant cannot again contract the virus or

 that individuals with medical vulnerabilities face less risk of serious outcomes

 when reinfected, the fact that Defendant tested positive for COVID-19 once before

 does not militate against finding that an extraordinary and compelling

 circumstance exists.

       The Government maintains that the § 3553(a) factors weigh against reducing

 Defendant’s sentence. The factors set forth in 18 U.S.C. § 3553(a) include a

 defendant’s history and characteristics; the nature and circumstances of the crimes;


 Covid-19. Given the heightened risk that Covid-19 poses to someone with obesity,
 Culp has satisfied the first eligibility threshold for compassionate release during
 the pandemic.”).
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 due consideration of the seriousness of the crimes; promoting respect for the law;

 providing just punishment; affording adequate deterrence; protecting the public

 from further crimes by the defendant; and providing him with any necessary

 correctional services and treatment. See 18 U.S.C. § 3553(a).

       The Government emphasizes the circumstances of Defendant’s instant

 offense in support of its assertion that he would endanger the community, pointing

 out that Defendant was charged with possessing over a pound of heroin. (ECF No.

 866 at Pg. ID 13031.) But, according to the Presentence Report (“PSR”),

 Defendant was one of the “lower-level group of dealers” who worked for the lead

 defendant. (PSR ¶ 18.) In fact, the PSR states that “[Defendant] bought from [the

 lead defendant] but was not heavily involved in the conspiracy.” (Id.) This

 appears to be corroborated by the fact that, despite beginning the surveillance of

 several of the conspirators in March 2010, Defendant “was not known to be a part

 of the conspiracy until May 2010”—approximately one month prior to his arrest

 for the instant offenses. (PSR ¶ 19.) And while the Court does not minimize the

 seriousness of this offense or any of Defendant’s prior offenses, the Court notes

 that Defendant’s gun-related convictions are based on possession and did not

 involve physical violence. (See PSR ¶¶ 20, 39.) The Court also finds significant

 the five-year gap between Defendant’s last conviction and the offense for which he

 is currently incarcerated, and that his other convictions—which occurred 25, 28,

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 and 32 years ago respectively—were all misdemeanors. (PSR ¶¶ 36-39.)

 Defendant’s criminal record and limited involvement in the conspiracy for which

 he is currently incarcerated suggest that he is not a danger to the community.

       Though Defendant has committed some disciplinary infractions while

 incarcerated, he has taken drug education, keyboarding, and financial literacy

 courses, and obtained his GED in 2019. (See ECF No. 878 at Pg. ID 13076.) He

 also has significant support from his family, including three adult daughters—

 Aasiyah, Sequana, and Shaniqua. (ECF No. 863-5 at Pg. ID 13005-07.) Aasiyah

 represents that, if released, Defendant will live with her in Detroit, Michigan.

 (ECF No. 863-5 at Pg. ID 13005.) In addition, any risk posed by Defendant’s

 release can be mitigated by the conditions of his supervised release.

       Thus, the Court finds that factors set forth in 18 U.S.C. § 3553(a) warrant a

 reduction of Defendant’s sentence.

                                   CONCLUSION

       For the foregoing reasons, the Court GRANTS Defendant’s Motion for

 Release Pursuant to 18 U.S.C. § 3582(c)(1)(A)(1). (ECF No. 853.)

       The Court reduces Defendant’s sentence to time served as of March 12,

 2021. The period of supervised release remains five years.

       Defendant shall be released no later than March 12, 2021 and shall reside at

 the residence of Aasiyah in Detroit, Michigan, where Defendant shall remain in

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 self-quarantine for 14 days. Defendant shall notify the Probation Department for

 the Eastern District of Michigan within 24 hours of his arrival at his daughter’s

 residence and is directed to follow the instructions of the assigned probation

 officer.

        Upon his release from custody, Defendant will be subject to the same

 conditions of release imposed in his original sentence. Upon entry of this Order,

 defense counsel shall immediately contact the Probation Department to coordinate

 and facilitate enforcement of Defendant’s release conditions.

        IT IS FURTHER ORDERED that Defendant’s Motion to Vacate Sentence

 Under 28 U.S.C. § 2255 (ECF No. 817) is DENIED AS MOOT.

        IT IS FURTHER ORDERED that Defendant’s Request for Relief Under

 the First Step Act (ECF No. 883) is DENIED AS MOOT.

        IT IS SO ORDERED.

                                                s/ Linda V. Parker
                                                LINDA V. PARKER
                                                U.S. DISTRICT JUDGE

  Dated: March 9, 2021




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